Case 2:03-cV-02423-SH|\/|-tmp Document 107 Filed 06/06/05 Page 1 of 3 Page|D 129

 

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IN THE UNITED sTATEs DISTRICT COURT ’3"»`»
FoR THE WESTERN DISTMCT oF TENNESSEE 05 JUN -5 §
WESTERN DrvlsIoN ll 9’ 18
RDBERT F:z.’ ."1£ 'i~ri
LAURA A. TAVERNIER, M.D., ' ' ` "‘~" f‘-f*'EMPHc.é
Plaintiff,
vS. No. 03_2423-1\4@!1J

THE UNTVERSITY OF TENNESSEE COLLEGE
OF MEDICINE, JOHN E. MIDTLING, M.D.
(individually and in his official capacity), HENRY G.
HERROD, M.D. (individually and in his official
capacity), RAY WALKER, M.D. (individually and

in his official capacity), and NANCY MADDOX, J.D.
(individually and in her official capacity),

Defendants.

 

ORDER ALLOWING MEMORANDUM TO EXCEED PAGE LIMITATION

 

Before the Court is the June 2, 2005 motion filed by Defendants requesting permission to
exceed the Local Rule page limitation. For good cause Shown, the Court grants the motion.
Defendants rnay exceed the twenty (20) page limitation .

iT ls So oRDERED this 3 /Lday OfJune, 2005.

J/,(/wi_m

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT COURT

 

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Jeffery A. Jarratt

GLANKLER BROWN, PLLC
One Cornmerce Square

Suite 1700

l\/lemphis7 TN 38103

Georgia A. Robinette

FARRIS MATHEWS BRANAN BOBANGO HELLEN & DUNLAP, PLC
One Cornmerce Square

Ste. 2000

l\/lemphis7 TN 38103

James M. Simpson

ALLEN SUl\/[MERS SIMPSON LILLIE & GRESHAl\/l7 PLLC
80 l\/lonroe Ave.

Ste. 650

l\/lemphis7 TN 38103--246

Zachary S. Griffith

OFFICE OF THE ATTORNEY GENERAL
P.O. Box 20207

Nashville, TN 37202--020

Eugene S. Forrester

FARRIS MATHEWS BRANAN BOBANGO HELLEN & DUNLAP, PLC
One Cornmerce Square

Ste. 2000

l\/lemphis7 TN 38103

Heather Webb Fletcher

ALLEN SUl\/[MERS SIMPSON LILLIE & GRESHAl\/l7 PLLC
80 l\/lonroe Ave.

Ste. 650

l\/lemphis7 TN 38103--246

Jennifer Shorb Hagerrnan
BURCH PORTER & JOHNSON
l30 N. Court Avenue

l\/lemphis7 TN 38103

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Lisa A. Krupicka

BURCH PORTER & JOHNSON
l30 N. Court Avenue

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

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